            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 1 of 50




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA,
                                                           Case No. 19-cv-2184
                       Plaintiff
                                                           COMPLAINT FOR CIVIL
                       v.                                  PENALTIES, INJUNCTION, AND
                                                           OTHER RELIEF
 FACEBOOK, Inc.,
 a corporation,

                       Defendant.



       Plaintiff, the United States of America, acting by and through the Consumer Protection

Branch of the U.S. Department of Justice, alleges that:

       1.      Plaintiff brings this action against Defendant Facebook, Inc. (“Facebook”) under

Sections 5(a) and (l) and 16(a)(1) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.

§§ 45(a) and (l) and 56(a)(1), to obtain civil penalties, an injunction, and other equitable relief

for violations of a 2012 order previously issued by the Federal Trade Commission (“FTC” or

“Commission”) for violations of Section 5(a) of the FTC Act. See Exhibit A, In re Facebook,

Inc., C-4365, 2012 FTC LEXIS 135 (F.T.C. July 27, 2012) (Decision and Order) (“Commission

Order” or “2012 Order”). This action seeks to hold Facebook accountable for its failure to

protect consumers’ privacy as required by the 2012 Order and the FTC Act.




                                            Page 1 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 2 of 50




                                   NATURE OF THE CASE

       2.      Facebook operates a social-networking service through its website—

www.facebook.com—and mobile applications. Those applications connect consumer users of

Facebook’s service, who each create a Facebook “profile” showing personal information, with

“Friends” who also have Facebook accounts and profiles (“Friends” or “Facebook Friends”).

Through its service, Facebook collects and maintains vast amounts of consumer information. As

of 2018, Facebook had more than 2.2 billion monthly active users worldwide. Over one hundred

million Americans use Facebook every day to share personal information, such as their real

name, date of birth, hometown, current city, employer, relationship status, and spouse’s name, as

well as sensitive personal information, such as political views, sexual orientation, photos of

minor children, and membership in health-related and other support groups. Users can also

provide information about themselves by indicating that they “like” public Facebook pages.

Research suggests that a user’s “likes” of public Facebook pages can be used to accurately

predict that user’s personality traits, sometimes better than the user’s own friends and family. In

addition, Facebook users may install and use applications (“apps”) developed by third-parties

(“third-party developers”) that allow the users to share information with their Facebook Friends.

       3.      Facebook’s core business model monetizes user information by using it for

advertising. Substantially all of Facebook’s $55.8 billion in 2018 revenues came from

advertising.

       4.      To encourage users to share information, Facebook promises users that they can

control the privacy of their information through Facebook’s privacy settings. However, through

at least June 2018, Facebook subverted users’ privacy choices to serve its own business interests.



                                           Page 2 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 3 of 50




       5.      Beginning at least as early as 2010, every Facebook user who installed an app

(“App User”) agreed to Facebook sharing with the third-party developer of the installed app both

information about the App User and the App User’s Facebook Friends. Facebook’s default

settings were set so that Facebook would share with the third-party developer of an App User’s

app not only the App User’s data, but also data of the App User’s Facebook Friends (“Affected

Friends”), even if those Affected Friends had not themselves installed the app. Affected Friends

could only avoid this sharing by finding and opting out of it via settings on Facebook’s

Applications page, which was located on Facebook’s website and mobile applications, separate

and apart from Facebook’s Privacy Settings page. Third-party developers that received user and

Affected Friend information could use that information to enhance the in-app experience or

target advertising to App Users and their Affected Friends. In the wrong hands, user and

Affected Friend data could be used for identity theft, phishing, fraud, and other harmful

purposes.

       6.      In 2012, after an FTC investigation, Facebook settled allegations that its practice

of sharing Affected Friends’ data with third-party developers of apps was deceptive. The

resulting Commission Order, among other things, prohibits Facebook from misrepresenting the

extent to which consumers can control the privacy of their information, the steps that consumers

must take to implement such controls, and the extent to which Facebook makes user information

accessible to third parties. See Commission Order, Parts I.B. & C.

       7.      In the wake of the FTC’s initial investigation, Facebook retained the separate opt-

out sharing setting on its Applications page, but it added a disclaimer to its Privacy Settings

page, warning users that information shared with Facebook Friends could also be shared with the



                                            Page 3 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 4 of 50




apps those Friends used. However, four months after the 2012 Order was finalized, Facebook

removed this disclaimer—even though it was still sharing Affected Friends data with third-party

developers and still using the same separate opt-out setting that undermined users’ privacy

choices before entry of the Commission Order.

       8.      At its F8 conference in April 2014—one theme of which was user trust—

Facebook announced that it would stop allowing third-party developers to collect data about

Affected Friends. Facebook also told third-party developers that existing apps could only

continue to collect Affected Friend data for one year, or until April 2015. But, after April 2015,

Facebook had private arrangements with dozens of developers, referred to as “Whitelisted

Developers,” that allowed those developers to continue to collect the data of Affected Friends,

with some of those arrangements lasting until June 2018.

       9.      At least tens of millions of American users relied on Facebook’s deceptive

privacy settings and statements to restrict the sharing of their information to their Facebook

Friends, when, in fact, third-party developers could access and collect their data through their

Friends’ use of third-party developers’ apps. Facebook knew or should have known that its

conduct violated the 2012 Order because it was engaging in the very same conduct that the

Commission alleged was deceptive in Count One of the original Complaint that led to the 2012

Order. See Exhibit B, In re Facebook, Inc., C-4365, 2012 FTC LEXIS 136 (F.T.C. July 27,

2012) (“Original Complaint”).

       10.     Facebook also failed to maintain a reasonable privacy program that safeguarded

the privacy, confidentiality, and integrity of user information, as required by Part IV of the 2012

Order. The requirement in the 2012 Order that Facebook maintain a reasonable privacy program



                                           Page 4 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 5 of 50




was vitally important because Facebook had allowed millions of third-party developers to access

and collect massive troves of consumer data about both App Users and their Facebook Friends,

and Facebook failed to track that data in an organized, systematic way.

       11.     As a general practice, Facebook did not vet third-party developers before granting

them access to consumer data; instead, developers simply had to check a box agreeing to comply

with Facebook’s policies and terms and conditions, including those designed to protect consumer

information. This made Facebook’s enforcement of its policies, terms, and conditions acutely

important.

       12.     Facebook’s enforcement of its policies, terms, and conditions, however, was

inadequate and was influenced by the financial benefit that violator third-party app developers

provided to Facebook. This conduct was unreasonable. Facebook never disclosed this disparate

enforcement practice to the third-party assessor charged by the 2012 Order with assessing the

implementation and effectiveness of Facebook’s privacy program, nor did Facebook disclose its

enforcement practices to the Commission in its biennial assessment reports mandated by the

2012 Order. See Commission Order, Part V.

       13.     In addition to its violations of the 2012 Order, Facebook also engaged in

deceptive practices in violation of Section 5(a) of the FTC Act. Between November 2015 and

March 2018, Facebook asked its users to provide personal information to take advantage of

security measures on the Facebook website or mobile application, including a two-factor

authentication measure that encouraged provision of users’ phone numbers. Facebook did not

effectively disclose that such information would also be used for advertising.




                                           Page 5 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 6 of 50




       14.     Finally, in April 2018, Facebook updated its data policy to explain that Facebook

would use an updated facial-recognition technology to identify people in user-uploaded pictures

and videos “[i]f it is turned on,” implying that users must opt in to use facial recognition.

Contrary to the implication of this updated data policy, however, tens of millions of users who

still had an older version of Facebook’s facial-recognition technology had to opt out to disable

facial recognition. This violated the 2012 Order by misrepresenting the extent to which

consumers could control the privacy of their information used for facial recognition.

                                  JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

1345, and 1355; and 15 U.S.C. §§ 45(a) and (l), and 56(a)(1).

       16.     Venue in this District is proper under 28 U.S.C. §§ 1391(b)(2), (c)(2), and

1395(a); and 15 U.S.C. § 53(b).

                                          DEFENDANT

       17.     Facebook, Inc. is a Delaware corporation with its principal office or place of

business at 1601 Willow Road, Menlo Park, California 94025. At all times relevant to this

Complaint, Facebook has operated its social-networking service through its website,

www.facebook.com, and mobile applications that connect users with Friends on Facebook.

                                          COMMERCE

       18.     At all times material to this Complaint, Facebook maintained a substantial course

of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act, 15

U.S.C. § 44.




                                            Page 6 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 7 of 50




                                 THE COMMISSION ORDER

         19.    As part of Facebook’s operation of its social-networking service, it has for years

offered the Facebook Platform (“Platform”), a set of tools and application programming

interfaces (“APIs”) that enable third-party developers to access user data and develop software

applications, such as games, with which Facebook users can interact; it also allows users to use

apps or log into websites using their Facebook credentials.

         20.    In April 2010, Facebook launched an initial version of the Graph API (“Graph

API V1”), which allowed third-party developers to access and collect data about Facebook App

Users. Graph API V1 also allowed third-party developers to access and collect data about

Affected Friends.

         21.    At that time, Facebook’s settings presented an App User with a screen whereby

the app requested permission from the App User before initial installation to permit it to access

certain fields of data, as shown in the example below:1




1
    https://newsroom.fb.com/news/2012/12/better-controls-for-managing-your-content/


                                            Page 7 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 8 of 50




       22.    Facebook did not require third-party developers to request permission directly

from Affected Friends of App Users to access those Affected Friends’ data from Facebook.

Instead, Facebook automatically sent Affected Friend data based solely on App Users’ granted

permission.

       23.    Using this process, third-party developers could collect dozens of pieces of data

from Facebook about Affected Friends, including information related to each Affected Friend’s:

       • birthday
       • bio
       • activities
       • news article activity
       • books activity
       • check-ins
       • current city
       • education history
       • events
       • fitness activity
       • games activity
       • groups
       • hometown
       • interests
       • likes
       • music activity
       • notes
       • online presence
       • Open Graph activity
       • photos
       • questions
       • relationships
       • relationship details
       • religion/political views
       • status
       • subscriptions
       • videos
       • video-watch activity
       • website URL
       • work history




                                         Page 8 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 9 of 50




       24.     In its 2012 Original Complaint in the proceeding bearing Docket No. C-4365, the

Commission charged Facebook with engaging in unfair and deceptive acts or practices in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), for, among other things, its practices

associated with giving third-party developers access to Affected Friends’ data.

       25.     Specifically, Count One of the Original Complaint alleged that Facebook was

engaging in deceptive acts and practices by representing to users that Facebook’s privacy

settings allowed them to restrict to limited audiences (e.g., “Only Friends”) the sharing of non-

public personal information that they added to their Facebook profiles and their non-public

Facebook posts (collectively, “Profile Information”), when, in fact, those settings did not prevent

Facebook from sharing that information with third-party developers of apps installed by the

users’ Friends. See Exhibit B at ¶¶ 10-18.

       26.     The Original Complaint also asserted that Facebook misled users by placing the

option to block third-party developers from accessing their information through Friends not

prominently on Facebook’s Privacy Settings page, but rather, on a page called, at various times,

“Applications,” “Apps,” or “Applications and Websites.” This Applications page allowed users,

among other things, to restrict the information that third-party developers of Friends’ apps could

access. But no Facebook page other than the Applications page disclosed to users that, unless

they adjusted the setting on the Applications page, their other privacy choices were ineffective to

prevent the sharing of their data with third-party developers of their Friends’ apps.

       27.     The Original Complaint also noted that users who did not themselves use apps

would have no reason to click on the Applications page, and thus would have concluded that




                                             Page 9 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 10 of 50




their choices to restrict Facebook’s sharing of their Profile Information through the Privacy

Settings page were complete and effective.

       28.     Facebook settled the Commission’s Original Complaint with the Commission

Order. The Commission Order became final in August 2012 and remains in effect.

       29.     Part I of the Commission Order, in relevant part, states:

              IT IS ORDERED that Respondent and its representatives, in connection
       with any product or service, in or affecting commerce, shall not misrepresent in
       any manner, expressly or by implication, the extent to which it maintains the
       privacy or security of covered information, including, but not limited to:
                                                ...

       B.     the extent to which a consumer can control the privacy of any covered
       information maintained by Respondent and the steps a consumer must take to
       implement such controls;

       C.     the extent to which Respondent makes or has made covered information
       accessible to third parties;
                                             ...

See Commission Order, Part I.

       30.     The Commission Order defines “Covered Information” as:

       information from or about an individual consumer including, but not limited to:
       (a) a first or last name; (b) a home or other physical address, including street name
       and name of city or town; (c) an email address or other online contact
       information, such as an instant messaging user identifier or a screen name; (d) a
       mobile or other telephone number; (e) photos and videos; (f) Internet Protocol
       (“IP”) address, User ID or other persistent identifier; (g) physical location; or (h)
       any information combined with any of (a) through (g) above.

See Commission Order, Definition 4.

       31.     Part IV of the Commission Order, in relevant part, states that Facebook shall:

       establish and implement, and thereafter maintain, a comprehensive privacy
       program that is reasonably designed to (1) address privacy risks related to the
       development and management of new and existing products and services for
       consumers, and (2) protect the privacy and confidentiality of covered information.


                                          Page 10 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 11 of 50




         Such program, the content and implementation of which must be documented in
         writing, shall contain controls and procedures appropriate to [Facebook]’s size
         and complexity, the nature and scope of [Facebook]’s activities, and the
         sensitivity of covered information, including:
                                                  ...

         B.     the identification of reasonably foreseeable, material risks, both internal
         and external, that could result in [Facebook]’s unauthorized collection, use, or
         disclosure of covered information and an assessment of the sufficiency of any
         safeguards in place to control these risks. . . .

         C.      the design and implementation of reasonable controls and procedures to
         address the risks identified through the privacy risk assessment, and regular
         testing or monitoring of the effectiveness of those controls and procedures.
                                                  ...

         E.      the evaluation and adjustment of [Facebook]’s privacy program in light of
         the results of the testing and monitoring required by subpart C, any material
         changes to [Facebook]’s operations or business arrangements, or any other
         circumstances that [Facebook] knows or has reason to know may have a material
         impact on the effectiveness of its privacy program.

See Commission Order, Part IV.

         32.    Part V of the Commission Order states that Facebook shall “obtain initial and

biennial assessments and reports (‘Assessments’) from a qualified, objective, independent third-

party professional, who uses procedures and standards generally accepted in the profession.”

         33.    The Commission Order requires, among other things, that each such Assessment

shall:

         A.    set forth the specific privacy controls that [Facebook] has implemented
         and maintained during the reporting period;

         B.      explain how such privacy controls are appropriate to [Facebook]’s size
         and complexity, the nature and scope of [Facebook]’s activities, and the
         sensitivity of the covered information;

         C.     explain how the privacy controls that have been implemented meet or
         exceed the protections required by Part IV of [the Commission] Order; and




                                            Page 11 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 12 of 50




       D.      certify that the privacy controls are operating with sufficient effectiveness
       to provide reasonable assurance to protect the privacy of covered information and
       that the controls have so operated throughout the operating period.

See Commission Order, Part V.

               DEFENDANT’S NOTICE OF THE COMMISSION ORDER

       34.    Facebook’s General Counsel signed the Commission Order on behalf of

Facebook. The Commission served the Commission Order in August 2012.

                                 DEFENDANT’S CONDUCT

Facebook’s Desktop Privacy Settings Failed to Disclose That Users’ Privacy Choices Would
  Be Undermined by Default Settings That Allowed Facebook to Share Users’ Data with
                    Third-Party Developers of Their Friends’ Apps

       35.    Around the time that it resolved the Original Complaint through the Commission

Order in 2012, Facebook added a disclaimer to the top of its desktop Privacy Settings page

stating, “You can manage the privacy of your status updates, photos, and information using the

inline audience selector—when you share or afterwards. Remember: the people you share with

can always share your information with others, including apps.” (emphasis added), as shown in

the figure below:




                                          Page 12 of 50
        Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 13 of 50




       36.    Approximately four months after the Commission Order became effective,

however, Facebook removed the disclaimer from the Privacy Settings page, as shown in the

below example:




                                        Page 13 of 50
           Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 14 of 50




         37.     Facebook’s new “Privacy Settings” page purported to allow users to restrict who

could see their past and future posts.

         38.     Posts could include, among other things, status updates, photos, videos, check-ins,

and notes.2

         39.     A user wishing to restrict future posts on the Privacy Settings page would click

“edit” and select from non-public categories, such as “Friends,” “Only me,” and “Custom.”




2
    https://developers.facebook.com/docs/graph-api/reference/v2.8/post


                                            Page 14 of 50
           Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 15 of 50




         40.    Facebook did not disclose anywhere on this page, or anywhere along the path that

users would have had to take to reach the Privacy Settings page, that users who shared their posts

with “Friends” or a “Custom” audience3 could still have those posts shared with any of the

millions of third-party developers whose apps were used by their Friends.

         41.    As was the case before the Commission Order, Affected Friends who sought to

opt out of such sharing—and to have their privacy choices honored—needed to locate and adjust

settings located under the separate “Apps” tab.

         42.    The Apps tab did not alert users that it linked to a page containing settings that

users had to disable in order to have their privacy choices fully honored.

         43.    In December 2012, Facebook introduced “Privacy Shortcuts,” which it touted as a

privacy tool that helps users navigate “key settings.” See Exhibit C (Dec. 21, 2012 Press

Release); see also Exhibit D (May 22, 2014 Press Release) (describing Privacy Shortcuts as a

“tool designed to help people make sure they are sharing with just the audience they want”).

         44.    The Privacy Shortcuts tool also had privacy settings for posts that purported to

allow users to restrict their posts to Friends, as shown in the example below:4




3
 “Custom” audiences are typically a subset of Friends and are thus a more restrictive privacy
setting than “Friends.” For simplicity, this Complaint refers to both “Friends” and “Custom”
audience selections as “Friends.”
4
    https://newsroom.fb.com/news/2012/12/better-controls-for-managing-your-content/


                                           Page 15 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 16 of 50




       45.     However, Facebook did not disclose on the Privacy Shortcuts tool, or anywhere

along the path that users took to reach this tool, that their non-public posts could be shared with

third-party developers of Friends’ apps.

       46.     At all times relevant to this Complaint, Facebook also provided users with inline

controls that purported to allow users to restrict who could see their posts.

       47.     Specifically, when users posted a status update, photo, or video, Facebook gave

users a drop-down menu that allowed them to restrict the audience for that post to, for example,

“Friends,” as shown below:5




5
 https://www.facebook.com/notes/facebook/making-it-easier-to-share-with-who-you-
want/10150251867797131/


                                           Page 16 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 17 of 50




        48.    However, Facebook did not disclose to users that sharing their non-public posts

with Friends would allow Facebook to share those posts with third-party developers of Friends’

apps.

        49.    In addition, Facebook’s settings conveyed that users could restrict on their

Facebook “About” page who could see personal information that users added to their profile,

such as hometown, birthday, relationship, current city, education history, and work history.

        50.    But Facebook did not disclose to users on their About page that sharing their

personal information with Friends would allow Facebook to share that information with third-

party developers of Friends’ apps.

                   Facebook’s Desktop “Apps others use” and “Platform”
                     Settings Also Undermined Users’ Privacy Choices

        51.    Facebook also misled users by having default settings that shared Affected

Friends’ Profile Information with third-party developers of Friends’ apps unless the Affected

Friend found and opted out of settings found on the Apps Settings page.

        52.    The Apps Settings page contained two opt-out settings—the “Apps others use”

setting and the “Platform” setting.




                                          Page 17 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 18 of 50




       53.      To access the “Apps others use” setting, Affected Friends first had to realize that

Facebook shared their Profile Information with third-party developers of Friends’ apps, and then

successfully had to navigate a series of steps to find and opt-out of that setting.

       54.      A user first had to click on the “Apps” tab in the settings menu. This tab did not

include any disclosure that the “Apps” tab linked to any privacy settings for apps not installed by

the user.

       55.      After clicking the “Apps” tab, users were directed to the Apps Settings page,

where they had to locate the “Apps others use” setting.

       56.      The format of the Apps Settings page varied over time. However, at all times

relevant to this Complaint, the “Apps others use” setting at the bottom of the page, separate and

apart from the privacy settings for the apps the user installed, as shown in the below example:




                                            Page 18 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 19 of 50




       57.     On the “Apps others use” setting, Facebook stated, “People who can see your info

can bring it with them when they use apps. Use this setting to control the categories of

information people can bring with them.”

       58.     This was Facebook’s only representation on any of the settings pages informing

users that third-party developers of Friends’ apps could access and collect their Profile

Information.

       59.     Facebook presented users who clicked on “edit” within the “Apps others use”

setting with options that allowed them to opt out of Facebook sharing their data, as shown in the

below example:




                                           Page 19 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 20 of 50




        60.     By default, all categories of Affected Friend data, except “Religious and political

views” and “Interested in,” were set to be shared with third-party developers who requested

them.

        61.     During all times relevant to this Complaint, only a very low percentage of users

opted out of this default setting.

        62.     Alternatively, users could prevent Facebook from sharing their Profile

Information with third-party developers of Friends’ apps by opting out of Facebook’s “Platform”

setting within the Apps Setting page. But, in so doing, users could not use any Facebook apps

themselves. By default, this setting was turned “on” and allowed Facebook to share users’ data

with third-party developers of Friends’ apps.

        63.     To access the Platform setting, a user had to: (1) click on the “Apps” tab in the

settings menu; (2) find the Platform opt-out setting, which was located in a section of the page

devoted to the user’s apps and labeled at various times “Apps you use” or “Apps, Websites, and

Plugins”; and (3) click on the “edit” button to disable the default setting that shared the user’s

data with third-party developers of Friends’ apps.

        64.     Although the precise language varied over time, disclaimers on the Platform

setting warned that turning it off would prevent users from using any Facebook apps themselves

and prevent their Friends from being able to “interact and share with you using apps and

websites” (emphasis added).




                                           Page 20 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 21 of 50




       65.     This language—which focused on information that would be shared with the user,

rather than information Facebook would share about the user—did not inform users that: (a) by

default, Facebook shared their Profile Information with third-party developers of Friends’ apps;

or (b) this setting allowed them to opt out of such sharing.

       66.     A very low percentage of Facebook users disabled the Platform setting between

August 2012 and April 2015.

                   Facebook’s Mobile Privacy Settings Also Deceived Users

       67.     As early as March 2012, and until March 2013, as shown in the example below,

Facebook’s mobile interface contained a disclaimer near the top of the Privacy Settings page

stating, “You can manage the privacy of your status updates, photos and information using the




                                           Page 21 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 22 of 50




inline audience selector—when you share or afterwards. Remember: the people you share with

can always share your information with others, including apps. . .” (emphasis added).




       68.     The mobile Privacy Settings page purported to allow users to restrict who could

see their past and future posts, as well as, for approximately six months, users’ birthday and

contact information.

       69.     During this time, Facebook’s Privacy Settings page further featured a link to the

Apps Settings page.

       70.     In or around March 2013, Facebook removed the disclaimer about the sharing of

data with apps, as shown in the below figure:




                                          Page 22 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 23 of 50




       71.    Facebook also removed from the mobile Privacy Settings page the link to the

Apps Settings page.

       72.    After Facebook made these changes, to find the Apps Setting page, a user on the

mobile interface had to go to the main settings menu and click on the heading labeled “Apps” or

“Apps and Websites,” as shown in the below example:




                                         Page 23 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 24 of 50




       73.     The headings did not disclose that the “Apps” or “Apps and Websites” tabs

included privacy settings for apps that the user did not install.




                                            Page 24 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 25 of 50




        74.     Once on the Apps Settings page, users had to locate the “Apps others use” setting

and click on “edit” before gaining access to options that allowed them to opt out of Facebook

sharing their data with third-party developers of Friends’ apps.

        75.     The “Apps others use” setting was located separate and apart from the privacy

settings for the apps the user installed.

        76.     Users’ bios, birthdays, family and relationships, websites, status updates, photos,

videos, links, notes, hometowns, current cities, education histories, work histories, activities,

interests, “likes,” app activity, and status of being online, were set to be shared with third-party

developers by default.

        77.     Similarly, to access the Platform setting in the mobile interface, users had to click

on the “Apps” heading in the settings menu and then click on the “Platform” opt-out setting link.

        78.     The Platform setting link referenced apps the user authorized rather than apps

authorized by the user’s Friends.

        79.     Moreover, although the precise language varied over time, disclaimers on the

Platform setting explained that turning off the Platform setting would prevent users from using

any Facebook apps themselves and prevent their Friends from being able to “interact and share

with you using apps and websites” (emphasis added).




                                            Page 25 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 26 of 50




       80.     This language—which focused on information that would be shared with the user

rather than information Facebook would share about the user—did not alert users to the fact that:

(a) Facebook shared their Profile Information with third-party developers of Friends’ apps by

default; or (b) the Platform setting allowed them to opt out of such sharing.

       Facebook Was Aware That Giving Millions of Third-Party Developers Access
                     to Affected Friend Data Posed Privacy Risks

       81.     Facebook was aware of the privacy risks posed by allowing millions of third-party

developers to access and collect Affected Friend data for nearly two years before it changed the

Graph API to remove third-party developers’ access to that data. By August 2013, Facebook had

decided to remove third-party developers’ access to Affected Friend data. As an internal

document explained:




                                          Page 26 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 27 of 50




       We are removing the ability for users to share data that belongs to their friends
       who have not installed the app. Users should not be able to act as a proxy to
       access personal information about friends that have not expressed any intent in
       using the app.

       82.     In September 2013, Facebook audited a set of apps to determine whether to

revoke their data permissions. That audit revealed that over a 30-day period, the audited apps

were making hundreds of millions of requests to the Graph API for a variety of data, including

Affected Friends’ work histories, photos, videos, statuses, “likes,” interests, events, education

histories, hometowns, locations, relationships, and birthdays.

       83.     In some instances, the apps called for data about Affected Friends in numbers that

greatly exceeded the number of the apps’ monthly active users. For example, one app

highlighted in the audit made more than 450 million requests for data—roughly 33 times its

monthly active users.

       84.     Indeed, the volume of data acquired by the audited apps led one Facebook

employee to comment, “I must admit, I was surprised to find out that we are giving out a lot here

for no obvious reason.”

       85.     This was not the only instance in which an examination of apps showed massive

amounts of Affected Friends’ data being accessed. A mere month after the September 2013

audit, while discussing upcoming Platform changes, senior Facebook management employees

observed that third-party developers were making more than 800 billion calls to the API per

month and noted that permissions for Affected Friends’ data were being widely misused.

       86.     Likewise, in 2014, when discussing changes that would be made to the Platform,

Facebook senior management employees considered reports showing that, every day, more than

13,000 apps were requesting Affected Friends’ data.


                                           Page 27 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 28 of 50




       87.     Facebook made several changes to the Privacy Settings and Apps Settings pages

throughout 2013 and 2014. However, none of the changes sought to inform users that sharing

data with their Friends also allowed Facebook to share that data with any of the more than one

million third-party developers whose apps could be used by their Friends.

Financial Considerations Influenced Facebook’s Decisions Regarding Whether to Restrict
                      Third-Party Developers’ Access to User Data

       88.     Even though Facebook acknowledged the data-privacy risks associated with the

data access it gave to third-party developers, on numerous occasions, while determining whether

to continue granting a particular developer access to user data, it considered how large a financial

benefit the developer would provide to Facebook, such as through spending money on

advertisements or offering reciprocal data-sharing arrangements.

       89.     At one point in 2013, for instance, Facebook considered whether to maintain or

remove data permissions for third-party developers based on whether the developer spent at least

$250,000 in mobile advertising with Facebook.

       90.     As internal Facebook documents explained, Facebook would contact apps

spending more than $250,000 on advertising and ask them to confirm the need for the data they

were accessing, while Facebook would terminate access for apps spending less than $250,000.

       91.     Similarly, during the transition to the second version of Graph API (“Graph API

V2”), when preparing to implement changes to the Platform to remove third-party developers’

access to Affected Friend data, Facebook explicitly evaluated whether apps affected by the

changes spent money on advertising with Facebook, generated revenue for the company, or

otherwise offered something of value such as reciprocal access to user data.




                                          Page 28 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 29 of 50




 Facebook Falsely Announced That Third-Party Developers Would No Longer Be Able to
                            Access Affected Friend Data

       92.     In 2013, Facebook conducted a survey that showed that its users were concerned

about sharing their data with apps, believed apps asked for unnecessary information or

permissions, and were concerned about the information apps used for marketing.

       93.     Similarly, based on research Facebook conducted, Facebook employees discussed

that certain categories of data requests—the user’s activities, birthday, education history, list of

interests, religious and political affiliation, page “likes,” photos, videos, hometown, relationship

preferences, work history, current city, status messages, and check-ins—were sensitive and,

accordingly, should require review after Graph API V2 was introduced.

       94.     As one employee explained, “Perm[ission]s like user relationships, work history,

and relationship details (which indicates the user’s gender preferences) can be perceived as really

sensitive. It’s really bad for user trust whenever these perm[ission]s are asked for. . . .”

       95.     Facebook communicates with its users through various means, including keynote

addresses during F8 conferences, videos on Facebook’s YouTube channel, and Facebook

Newsroom.

       96.     In April 2014, Facebook announced that it was deprecating (i.e., discontinuing)

Graph API V1 and replacing it with Graph API V2.

       97.     At Facebook’s April 30, 2014 F8 Conference, Facebook announced that it would

no longer allow third-party developers to collect Affected Friend data. In the keynote address,

Facebook explained:

       [W]e’ve also heard that sometimes you can be surprised when one of your friends shares
       some of your data with an app. . . . So now we’re going to change this, and we’re going
       to make it so that now, everyone has to choose to share their own data with an app


                                            Page 29 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 30 of 50




        themselves. . . . [W]e think this is a really important step for giving people power and
        control over how they share their data with apps.

(emphasis added). Facebook posted a video of this keynote address on its YouTube channel in

May 2014.

        98.     On April 30, 2014, Facebook also issued a press release in which it stated:

        Putting people first: We’ve heard from people that they are worried about sharing
        information with apps, and they want more control over their data. We are giving people
        more control over these experiences so they can be confident pressing the blue button.

        99.     These communications with users addressed, among other things, the privacy

controls that Facebook made available on its Platform.

        100.    Despite these clear statements, Facebook gave third-party developers with a pre-

existing, approved app at least one year of continued access to Affected Friends’ data. In other

words, third-party developers that had a preexisting app on the Facebook Platform as of April

2014 could still access and collect Affected Friend data until April 2015. Facebook did not

disclose this fact to its users.

Facebook’s Privacy Checkup Did Not Tell Users That Sharing with Their Friends Allowed
              Third-Party Developers to Access Their Profile Information

        101.    In September 2014, Facebook launched “Privacy Checkup.” Facebook publicized

Privacy Checkup as a means to help users “be in control” of what they shared and with whom

they shared it. See Exhibit E (Press release).




                                           Page 30 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 31 of 50




       102.    Privacy Checkup purported to allow users to restrict who could see their posts and

“review and edit the privacy of key pieces of information,” Exhibit E, on the user’s profile, as

shown in the below figures:




                                          Page 31 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 32 of 50




       103.    The Privacy Checkup tool highlighted the apps that users installed, but it did not

list the apps that had access to users’ Profile Information based on their Friends’ consent.

       104.    The Privacy Checkup tool also included a link to the Facebook user’s About page,

where Profile Information such as birthdate, hometown, religious views, political views, interests

(e.g., sports teams, music, movies), public page “likes,” relationships, and relationship details

were displayed. These settings also purported to allow users to restrict who could see their data.

       105.    Facebook did not disclose anywhere on these pages that, when users shared their

Profile Information with Friends, Facebook could continue to share that information with

millions of third-party developers of their Friends’ installed apps.



                                           Page 32 of 50
           Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 33 of 50




 Facebook Finally Removed General Access to Affected Friend Data but Granted Special
      Access to Affected Friend Data to Certain Developers Without Telling Users

        106.    On April 30, 2015, Facebook deprecated Graph API V1. As a result, this

generally required third-party developers that had not already migrated to Graph API V2 to do

so. Graph API V2 did not allow third-party developers to access or collect Affected Friend data.

        107.    In or around April 2015, Facebook gathered journalists in San Francisco and

discussed the deprecation of Graph API V1 and the removal of access to Affected Friend data.

        108.    However, going forward, Facebook privately granted continued access to Graph

API V1 to more than two dozen developers—the Whitelisted Developers—which included

gaming, retail, and technology companies, as well as third-party developers of dating apps and

other social-media services. Those Whitelisted Developers thus still had access to the same

Affected Friend data that Facebook had publicly announced was no longer available.

        109.    Some of the Whitelisted Developers retained access for months, while others

retained access for years.

        110.    Facebook granted access to Affected Friend data to a few Whitelisted Developers

as a beta test, with that access left active until June 2018.

        111.    Facebook granted other Whitelisted Developers specific permissions to Affected

Friend data, including data on public page “likes,” location, education, work status, relationship

status, notes, groups, events, photos, religion, “looking for,” significant other, websites,

activities, and interests—much of which Facebook knew consumers might be sensitive to

sharing.

        112.    Facebook did not tell its users that it was still granting these Whitelisted

Developers access to their data.


                                            Page 33 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 34 of 50




       113.    When users chose to share their data with Friends, they had no way of knowing

that Facebook would still share it with these Whitelisted Developers.

 Facebook Failed to Implement and Maintain Appropriate Safeguards and Controls Over
                      Third-Party Developers’ Access to User Data

       114.    To address concerns associated with Facebook’s sharing of user and Affected

Friend data with the more than 36 million third-party apps on the Facebook Platform in 2012,

Part IV of the Commission Order required Facebook to implement and maintain a

comprehensive privacy program reasonably designed to address privacy risks and protect the

privacy and confidentiality of covered information.

       115.    Part V of the Commission Order required Facebook to obtain initial and biennial

assessments from an independent third-party professional that, among other things, set forth

Facebook’s specific privacy controls and explained how those controls met or exceeded

Part IV’s requirements.

       116.    In the initial and biennial assessment reports required by the Commission Order,

Facebook claimed that it had implemented certain controls and procedures to address the privacy

risks created by the extensive access to user data it provided to third-party developers.

       117.    Facebook’s assessment reports also claimed that it had monitoring controls in

place to detect material misuse of the Platform by third-party developers.

       118.    Other than requiring third-party developers to agree to Facebook’s policies and

terms when they registered their app with the Platform (“Platform Policies”), however, Facebook

generally did not screen the third-party developers or their apps before granting them access to

vast amounts of user data through Graph API V1.




                                           Page 34 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 35 of 50




       119.    For example, while Facebook used an automated tool to check that apps had an

active link to a privacy policy, it did not actually review the app’s privacy policy to confirm that

it, in fact, complied with Facebook’s policies.

       120.    Similarly, Facebook routinely granted third-party developers broad permissions to

access user and Affected Friend data without first performing any checks on whether such

permissions were consistent with a Facebook Platform policy requiring that apps request only

data necessary to run the app or to enhance the user’s app experience.

       121.    The Platform Policies outlined a number of privacy obligations and restrictions,

such as limits on an app’s use of data received through Facebook, requirements that an app

obtain consent for certain data uses, and restrictions on selling or transferring user data. For

example, third-party developers were specifically prohibited from transferring, directly or

indirectly, any data—including aggregate, anonymous, or derivative data—to any ad network or

data broker.

       122.    According to Facebook, these policies ensured that users’ personal information

was disclosed only to third-party developers who agreed to protect the information in a manner

consistent with Facebook’s privacy program.

       123.    To enforce its Platform Policies, Facebook relied on administering consequences

for policy violations that came to its attention after third-party developers had already received

the data. But Facebook did not consistently enforce its Platform Policies. Rather, the severity of

consequences that Facebook administered to third-party developers for violating the company’s

Platform Policies, and the speed with which such measures were effectuated, took into account




                                           Page 35 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 36 of 50




the financial benefit that Facebook considered the developer to offer to Facebook, such as

through a commercial partnership.

        124.   Facebook did not inform its third-party assessor that it was engaging in this

practice, and the differential enforcement model was not noted in any of the company’s Part V

assessments.

        125.   As reported in the Wall Street Journal, Facebook’s Vice President of Product

Partnerships acknowledged that, for many years, the company’s emphasis was on growth. It was

only after March 2018, after Facebook had been giving third-party developers access to user data

through the Graph API for years, that Facebook began a “massive cultural shift” to focus more

on “enforcement as a key component” of its system.

        126.   The full scale of unauthorized collection, use, and disclosure of consumer

information resulting from Facebook’s conduct is unknown due, at least in part, to the

company’s lack of recordkeeping.

        127.   In March 2018, Facebook announced it had launched an internal investigation into

the potential misuse of user data by third-party developers. But, due to various issues, including

the company’s own lack of an organized system or technical means for tracking all the massive

troves of user data it released to third-party developers, Facebook could neither ascertain where

most of the data went after it was pulled from the Platform, nor determine how the data had been

used.

                 Facebook Deceptively Used Covered Information Provided
                        for Security Purposes for Advertisements

        128.   Since May 2011, Facebook has allowed users to log into Facebook using two-

factor authentication, originally called Login Approvals. When they logged in from a new or


                                          Page 36 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 37 of 50




unrecognized device, users of Login Approvals accessed their Facebook accounts with their

username, password, and a code texted to their phone.

       129.    Until May 2018, to take advantage of this security feature, Facebook users had to

add or confirm their phone numbers during the Login Approvals signup process. After May

2018, users could log in with two-factor authentication either by adding a phone number or by

using a third-party authentication app, which generated a security code that Facebook could use

to authenticate the user.

       130.    Facebook encouraged users to employ this security feature as an “industry best

practice” for providing additional account security, and specifically touted Login Approvals as

helping users take “more control over protecting their account from unauthorized access.”6

       131.    Facebook did not disclose, or did not disclose adequately, that the phone numbers

Login Approvals users provided for two-factor authentication would also be used by Facebook to

target advertisements to those users.

       132.    For example, from at least November 20, 2015, to March 25, 2018, during the

signup process for Login Approvals, Facebook presented mobile App Users with a dialog box

called “Set Up Login Code Delivery.”

       133.    At that dialog box, Facebook asked for users’ mobile phone numbers and told

them, “For us to text you security codes, you need to add your mobile phone to your Timeline.”7



6
  https://www.facebook.com/notes/facebook-engineering/introducing-login-
approvals/10150172618258920/; https://www.facebook.com/notes/facebook-security/two-
factor-authentication-for-facebook-now-easier-to-set-up/10155341377090766/
7
  From April 25, 2017 until March 15, 2018, the text of the Set Up Login Code Delivery Box
read, “For us to text you login codes, you need to add your mobile phone to your Timeline.”


                                         Page 37 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 38 of 50




Facebook then provided a space for users to add their phone numbers and prompted them to click

the “Continue” button.

       134.    Facebook did not tell users anywhere in that dialog box, or anywhere on the path

to that dialog box, that Facebook would also use phone numbers provided for two-factor

authentication for advertising.

       135.    Similarly, from at least November 15, 2015, to February 23, 2018, during the

Login Approval signup process on its mobile interface, Facebook asked for a user’s mobile

phone number on a screen titled “Set Up Login Code Delivery.”

       136.    At that screen, Facebook told users, “For us to text you login codes, you need to

add your mobile phone to your timeline.” Facebook then provided a space for users to add their

phone numbers and click the “Continue” button.

       137.    There was no disclosure on the “Set Up Login Code Delivery” screen, or

anywhere on the path to that screen, that Facebook would also use phone numbers provided for

two-factor authentication for advertising.

       138.    Additionally, during the signup process for two-factor authentication on

Facebook’s desktop website from April 26, 2018, to November 20, 2018, Facebook presented

users with a dialog box titled “Add A New Phone Number.”

       139.    In that dialog box, Facebook asked for users’ mobile phone numbers and told

them, “Add your mobile number to your account so you can reset your password if you ever

need to, find friends, and more. You can later choose to turn SMS updates on for this number.”




                                             Page 38 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 39 of 50




       140.    There was no disclosure in that dialog box, or anywhere on the path to that dialog

box, that Facebook would also use phone numbers provided for two-factor authentication for

advertising.

       141.    When users were led to, or looked for, more information about adding a phone

number for two-factor authentication, they were brought to a webpage that asked, “Why am I

being asked to add my mobile phone number to my account?” This webpage stated:

           Adding a mobile phone number to your account:
           • Helps keep your account secure
           • Makes it easier to connect with friends and family on Facebook
           • Makes it easier to regain access to your account if you have trouble logging in

       142.    Facebook did not inform users that it would also use mobile phone numbers for

advertising.

       143.    The fact that Facebook would use mobile phone numbers provided for two-factor

authentication for advertising would be material to users when deciding whether to use two-

factor authentication at all, and, after May 2018, whether to use a third-party authentication app

to log in with two-factor authentication instead of giving Facebook their mobile phone numbers.

          Facebook’s April 2018 Data Policy Was Deceptive to Users Who Did Not
                        Have Its New “Face Recognition” Setting

       144.    In 2010, Facebook began offering users a “Tag Suggestions” feature that used

facial-recognition technology to assist them in “tagging” Friends in photos or videos, or

associating a photo or video to a particular Friend’s Facebook account.

       145.    Specifically, Facebook’s facial-recognition technology used, and still uses, an

algorithm that analyzes pixels in a user’s profile picture and photos in which the user is tagged to

create a unique facial-recognition template that Facebook employs to identify that user in photos



                                           Page 39 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 40 of 50




and videos uploaded by the user’s Friends. Facebook then suggests the user’s name rather than

requiring the Friend to manually type the user’s name.

       146.    Users could control this feature through a Tag Suggestions privacy setting (“Tag

Suggestions Setting”). All users who signed up for a Facebook account originally had the Tag

Suggestions Setting following the launch of the Tag Suggestions feature. The Tag Suggestions

Setting default was set to “Friends,” which enabled facial recognition. Users could opt out of

facial recognition by changing the Tag Suggestions Setting to “No One.” For any user who

opted out of facial recognition, Facebook would not create a facial-recognition template, or it

would delete an existing facial-recognition template, for that user.

       147.    In December 2017, Facebook introduced a new “Face Recognition” setting (“Face

Recognition Setting”) to replace the existing Tag Suggestions Setting. Like the Tag Suggestions

Setting, the Face Recognition Setting controlled whether Facebook created and stored a facial-

recognition template for a user. Thus, if a user turned off the Face Recognition Setting,

Facebook would not create a facial-recognition template for the user, and it would delete any

existing facial-recognition template.

       148.    When it introduced the Face Recognition Setting, Facebook began using its facial-

recognition technology for three new features, in addition to tag suggestions: Photo Review,

which notifies users that they may be in certain photos or videos that have been uploaded onto

Facebook even if the user is not tagged in the photo or video; Automatic Alt Text, which helps

screen readers with visual impairments identify who is in the photo or video; and Profile Photo

Review, which helps Facebook identify potential account impersonation. These new features




                                           Page 40 of 50
           Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 41 of 50




were available only to users who had migrated to the Face Recognition Setting and whose setting

was “On.”

       149.    Between January and April 2018, Facebook provided a notice to individual users

before migrating them to the Face Recognition Setting (the “Facial Recognition Notice”). This

notice appeared at the top of a user’s News Feed and informed users of the three new uses for

facial recognition and whether the Face Recognition Setting for that user was “On” or “Off.”

The initial setting for the new Face Recognition Setting was based on whether the user had facial

recognition enabled under their most recent Tag Suggestions Setting. Facebook thereby

imported the user’s previous privacy choice on facial recognition to the new Face Recognition

Setting.

       150.    The Facial Recognition Notice contained a link for users to “Learn More” about

Facebook’s facial-recognition technology and a link to the Settings page where users could turn

the Face Recognition Setting on or off. If a user did not click either link, Facebook provided the

Facial Recognition Notice to that user three separate times and then migrated the user to the new

Face Recognition Setting and its new features.

       151.    This migration experience occurred only for users who had Facebook accounts as

of April 2018 and who had received Facebook’s Facial Recognition Notice three times.

Approximately 30 million Facebook users in the United States who had not received the Facial

Recognition Notice three separate times were not migrated to the Face Recognition Setting. The

migration also did not occur for approximately 30 million new users who signed up for Facebook

after April 2018.




                                          Page 41 of 50
           Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 42 of 50




       152.    Accordingly, Facebook did not migrate these approximately 60 million users to

the new Face Recognition Setting, and their accounts still featured only the Tag Suggestions

Setting.

       153.    In April 2018, Facebook deleted from its Platform all prior references to “Tag

Suggestions” and updated its Data Policy to reference only its new Face Recognition Setting. In

relevant part, Facebook stated:

               Face recognition: If you have it turned on, we use face recognition
               technology to recognize you in photos, videos and camera experiences.
               The face-recognition templates we create may constitute data with special
               protections under the laws of your country. Learn more about how we use
               face recognition technology, or control our use of this technology in
               Facebook Settings. If we introduce face-recognition technology to your
               Instagram experience, we will let you know first, and you will have
               control over whether we use this technology for you.

(emphasis added).

       154.    Users who still had the Tag Suggestions Setting after April 2018, however, did

not have to “turn[ ] on” facial recognition, because—unless the user had previously opted out—

facial recognition was turned on by default. Thus, the updated Data Policy, which emphasized

the need for users to “turn[ ] on” facial recognition, was not accurate for the approximately

60 million users who were not migrated to the Face Recognition Setting, as facial-recognition

technology was turned on by default for those users. If those users did not want the technology,

they—contrary to the updated Data Policy—had to turn it off.




                                          Page 42 of 50
          Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 43 of 50




                       VIOLATIONS OF THE COMMISSION ORDER

 Count 1—Misrepresenting the Extent to Which Users Could Control the Privacy of Their
   Data and the Extent to Which Facebook Made User Data Accessible to Third Parties

        155.    Part I.B. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which a consumer can control the privacy of any covered information maintained by

Respondent and the steps a consumer must take to implement such controls.”

        156.    Part I.C. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which Respondent makes or has made covered information accessible to third parties.”

        157.    During the period from December 2012 through April 2014, Facebook

represented to consumers that they could control the privacy of their data by using desktop and

mobile privacy settings to limit the information Facebook could share with their Facebook

Friends, including those on the Privacy Settings page, inline settings, Privacy Shortcuts, and

profile settings.

        158.    In fact, Facebook did not limit its sharing of consumer information with third-

party developers based on those privacy settings.

        159.    Therefore, the representations described in Paragraph 157 violated Parts I.B. and

I.C. of the Commission Order.

 Count 2—Misrepresenting the Extent to Which Users Could Control the Privacy of Their
   Data and the Extent to Which Facebook Made User Data Accessible to Third Parties

        160.    Part I.B. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which a consumer can control the privacy of any covered information maintained by

Respondent and the steps a consumer must take to implement such controls.”




                                           Page 43 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 44 of 50




       161.    Part I.C. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which Respondent makes or has made covered information accessible to third parties.”

       162.    At the April 30, 2014, F8 Conference, Facebook publicly announced that it would

no longer allow third-party developers to access Affected Friend data.

       163.    In addition, Facebook continued to represent to consumers that they could control

the privacy of their data by using Facebook’s desktop and mobile privacy settings to limit to their

Facebook Friends the information Facebook could share, including those on the Privacy Settings

page, inline settings, Privacy Shortcuts, profile settings, and Privacy Checkup.

       164.    In fact, Facebook continued to allow millions of third-party developers access to

Affected Friend data for at least another year.

       165.    Additionally, Facebook did not limit its sharing of consumer information with

third-party developers based on Facebook’s desktop and mobile privacy settings, including those

on the Privacy Settings page, inline settings, Privacy Shortcuts, profile settings, and Privacy

Checkup.

       Therefore, the representations described in Paragraphs 162 and 163 violated Parts I.B.

and I.C. of the Commission Order.

         Count 3—Misrepresenting the Extent to Which Facebook Made User Data
                             Accessible to Third Parties

       166.    Part I.B. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which a consumer can control the privacy of any covered information maintained by

Respondent and the steps a consumer must take to implement such controls.”

       167.    Part I.C. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which Respondent makes or has made covered information accessible to third parties.”


                                           Page 44 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 45 of 50




       168.    At the April 30, 2014, F8 Conference, Facebook announced that it would no

longer allow third-party developers to access Affected Friend data.

       169.    On April 30, 2015, Facebook generally deprecated Graph API V1 so that it was

no longer publicly available to third-party developers.

       170.    However, Facebook privately granted the Whitelisted Developers continued

access to the capabilities of Graph API V1.

       171.    As a result, even after April 30, 2015, the Whitelisted Developers maintained

access to the same Affected Friend data that Facebook had publicly announced in April 2014

was no longer available to third-party developers.

       172.    Some of the Whitelisted Developers retained access to Affected Friend data for

months, while others retained access for years, with some retaining active access in 2018.

       173.    Additionally, from April 30, 2015, to at least June 2018, Facebook continued to

represent to consumers that they could control the privacy of their data by using Facebook’s

desktop and mobile privacy settings to limit to their Facebook Friends the information Facebook

could share, including those on the Privacy Settings page, inline settings, Privacy Shortcuts,

profile settings, and Privacy Checkup.

       174.    In fact, regardless of the privacy settings a user checked, Facebook continued to

provide access to Covered Information to Whitelisted Developers throughout this period.

       175.    Therefore, the representations described in Paragraphs 168 and 173 violated the

Commission Order.




                                          Page 45 of 50
            Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 46 of 50




       Count 4—Failure to Implement and Maintain a Reasonable Privacy Program

       176.     Part IV of the Commission Order requires Facebook to implement and maintain a

comprehensive privacy program reasonably designed to address privacy risks related to the

development and management of new and existing products and services. Specifically, the

program must contain controls and procedures appropriate to Facebook’s size and complexity,

the nature and scope of its activities, and the sensitivity of Covered Information.

       177.     Among other things, Part IV requires that Facebook design and implement

reasonable controls and procedures to address reasonably foreseeable, material risks that could

result in the unauthorized collection, use, or disclosure of Covered Information. It also required

Facebook to monitor and test the effectiveness of its controls and procedures, and to assess the

sufficiency of any safeguards it implemented to control privacy risks.

       178.     In its initial and biennial assessment reports, Facebook claimed it had

implemented controls and procedures to address the privacy risks created by third-party

developers’ access to user data.

       179.     These controls did not include screening the third-party developers or their apps

before granting them access to user data. Instead, Facebook relied on enforcing its Platform

Policies.

       180.     Despite substantial reliance on its Platform Policies, however, Facebook did not

consistently enforce those policies from 2012 to the present. Rather, the severity of

consequences it administered to violators of the Platform Policies, and the speed with which it

effectuated such measures, took into account the financial benefit the violator provided to

Facebook.



                                           Page 46 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 47 of 50




       181.     Facebook did not inform its assessor that it was engaging in this practice.

       182.     Therefore, Facebook violated Part IV of the Commission Order.

              Count 5—Misrepresenting the Extent to Which Users Could Control
                                the Privacy of Their Data

       183.     Part I.B. of the Commission Order prohibits Facebook from misrepresenting “the

extent to which a consumer can control the privacy of any covered information maintained by

Respondent and the steps a consumer must take to implement such controls.”

       184.     During the period from April 2018 through the present, Facebook represented,

expressly or by implication, to its users that they would have to “turn[ ] on” facial-recognition

technology.

       185.     In fact, during this period, for users who still had the Tag Suggestions Setting,

Facebook’s facial-recognition technology was turned on by default unless the user opted out.

       186.     Therefore, the representations described in Paragraph 184 violated Part I.B. of the

Commission Order.

                       VIOLATION OF SECTION 5 OF THE FTC ACT

    Count 6—Deceptive Practices Regarding Use of Covered Information Provided for
                                  Account Security

       187.     As described above in Paragraphs 128-43, Facebook represented, directly or

indirectly, expressly or by implication, that users’ phone numbers provided for two-factor

authentication would be used for security purposes and, in some instances, to make it easier to

connect with Friends on Facebook.




                                           Page 47 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 48 of 50




       188.    Facebook failed to disclose, or failed to disclose adequately, that Facebook would

also use phone numbers provided by users for two-factor authentication for targeting

advertisements to those users.

       189.    Facebook’s failure to disclose or disclose adequately the material information

described in Paragraph 188, in light of the representations set forth in Paragraph 187, is a

deceptive act or practice.

       190.    The acts and practices of Facebook as alleged in this Complaint constitute unfair

or deceptive acts or practices in or affecting commerce in violation of Section 5(a) of the Federal

Trade Commission Act, 15 U.S.C. § 45(a).

                             COURT’S POWER TO GRANT RELIEF

       191.    Each representation Defendant has made in violation of the Commission Order

constitutes a separate violation for which Plaintiff may seek a civil penalty pursuant to Section

5(l) of the FTC Act, 15 U.S.C. § 45(l).

       192.    Section 5(l) of the FTC Act, 15 U.S.C. § 45(l), as modified by Section 4 of the

Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461, and Section 1.98(c)

of the FTC’s Rules of Practice, 16 C.F.R. § 1.98(c), directs that a defendant who violates an

order of the Commission after it has become final, and while such order is in effect, “shall forfeit

and pay to the United States a civil penalty of not more than $42,530 for each violation.”

       193.    Sections 5(l) and 13(b) of the FTC Act, 15 U.S.C. §§ 45(l) and 53(b), also

authorize this Court to grant an “injunction and such other and further equitable relief” as it may

deem appropriate in the enforcement of the Commission Order.




                                           Page 48 of 50
         Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 49 of 50




                                    PRAYER FOR RELIEF

       194.    WHEREFORE, Plaintiff requests this Court, pursuant to 15 U.S.C. §§ 45(l) and

53(b), and pursuant to the Court’s own equitable powers:

       A.      Enter judgment against Defendant and in favor of Plaintiff for violating the

Commission Order and the FTC Act as alleged in this Complaint;

       B.      Award Plaintiff monetary civil penalties from Defendant for each violation of the

Commission Order;

       C.      Enter an injunction to prevent future violations by Defendant of the Commission

Order, or as it is subsequently modified by operation of law, and the FTC Act; and

       D.      Award Plaintiff the costs of bringing this action, as well as such other and further

relief as the Court may determine to be just and proper.




                                          Page 49 of 50
        Case 1:19-cv-02184-TJK Document 1 Filed 07/24/19 Page 50 of 50




DATED: July 24, 2019


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                                       Page 50 of 50
